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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA




BARBARA DIAMOND, et. al.,
                                                   Civil Action No. 5:17-cv-5054-MMB
                   Plaintiffs,

        v.

ROBERT TORRES, et. al.,

                   Defendants.


                                 STIPULATION OF DISMISSAL

        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the parties hereby agree to

 dismiss this action. By agreement of the parties, each side will bear its own costs, fees, and

 expenses.
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Dated: April 9, 2018                         Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I certify that on April 9, 2018, I filed the foregoing with the Clerk of the Court using the

ECF System which will send notification of such filing to the registered participants as identified

on the Notice of Electronic Filing.



Date: April 9, 2018
                                                      /s/ Bruce V. Spiva
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